                    Case 20-18564-SMG         Doc 57    Filed 06/07/24    Page 1 of 2

                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                                            CASE NO.: 20-18564-BKC-SMG
                                                                         PROCEEDING UNDER CHAPTER 13

IN RE:

IVAN S PELTON
XXX-XX-5248

_____________________________/
DEBTOR

                                       CERTIFICATE OF SERVICE


              ORDER GRANTING TRUSTEE'S MOTION TO DEVIATE FROM PLAN DE# 56


         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of the Pleading noted above was
served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on the attached
service list this 7th day of June, 2024.

                                                                  /s/ Robin R. Weiner
                                                                  _____________________________________
                                                                  ROBIN R. WEINER, ESQUIRE
                                                                  STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 559007
                                                                  FORT LAUDERDALE, FL 33355-9007
                                                                  TELEPHONE: 954-382-2001
                                                                  FLORIDA BAR NO.: 861154
                   Case 20-18564-SMG   Doc 57   Filed 06/07/24   Page 2 of 2
                                                                           CERTIFICATE OF SERVICE
                                                                        CASE NO.: 20-18564-BKC-SMG

                                       SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
IVAN S PELTON
8130 CLEARLY BLVD
APT 1302
PLANTATION, FL 33324

ATTORNEY FOR DEBTOR
JORDAN L. RAPPAPORT, ESQUIRE
1300 NORTH FEDERAL HIGHWAY
SUITE 203
BOCA RATON, FL 33432

CREDITOR(S)
ACTING US ATTORNEY FOR S. DISTRICT OF FL
C/O CIVIL PROCESS CLERK
99 NE 4TH STREET
MIAMI, FL 33132

DEPARTMENT OF THE TREASURY
1500 PENNSYLVANIA AVENUE, NW
WASHINGTON, DC 20220

INTERNAL REVENUE SERVICE
POB 7346
PHILADELPHIA, PA 19101-7346

IRS AREA COUNSEL
1000 S. PINE ISLAND RD #300
PLANTATION, FL 33324

MERRICK GARLAND, US ATTORNEY GENERAL
US DEPARTMENT OF JUSTICE
950 PENNSYLVANIA AVE. NW ROOM 4400
WASHINGTON, DC 20530

UNITED STATES TREASURY
POB 7317
PHILADELPHIA, PA 19101-7317
